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                EXHIBIT G
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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND


 LA UNIÓN DEL PUEBLO ENTERO,
 PROMISE ARIZONA, LYDIA
 CAMARILLO, JUANITA VALDEZ-COX,
 ROGENE GEE CALVERT; ZEENAT
 NISHA HASAN; CANDY L. GUTIERREZ;
 EUGENE WU, DEBORAH CHEN,                        Civil Action No. 8:19-CV-02710-PX
 ORGANIZATION OF CHINESE
 AMERICANS-GREATER HOUSTON,
 DAVID CHIU, PHILLIP TING, ALBERT
 MURATSUCHI, KENNY CHU, YICHENG
 WU, CYNTHIA CHOI, VINCENT PAN,
 JOHN PARK, JEFFREY D. HSI, JACINTA
 TITIALII ABBOTT, VENGHAN TANG,
 RAJ MUKHERJI, SHARON TOMIKO
 SANTOS, MIA GREGERSON, JENNIFER
 REYES, RAYMOND SANCHEZ,
 MARICELA LECHUGA, MARTY
 RAMIREZ, FELIPE CRUZ, ALEXANDRA
 ROSY PALOMO-PUJOL, MARCO
 ABARCA, COALITION FOR HUMANE
 IMMIGRANT RIGHTS OF LOS
 ANGELES, RALPH CARMONA, and
 JAVIER GASTON-GREENBERG,

                      Plaintiffs,
       v.

DONALD J. TRUMP, sued in his official
capacity as President of the United States,

WILBUR L. ROSS, sued in his official
capacity as U.S. Secretary of Commerce,

STEVEN DILLINGHAM, sued in his official
capacity as Director of the U.S. Census
Bureau,

 U.S. DEPARTMENT OF COMMERCE, and

 U.S. CENSUS BUREAU,

                      Defendants.
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                             DECLARATION OF JOHN PARK

Pursuant to 28 U.S.C. § 1746, I, John Park, hereby declare and state as follows:

        1.     I am over the age of eighteen years. I have personal knowledge of the facts set

forth herein or believe them to be true based on my experience or upon personal information

provided to me by others, and I am competent to testify thereto.

        2.     I live in Flushing, located in Queens County, New York.

        3.     I am Asian American. According to ACS data, the total population of Queens

County, New York is 2,339,280 and Asian Americans constitute approximately 25.3 percent of

the total population.1 New York City Council District 20, which encompasses Flushing and

where I live and work, is over 68 percent Asian American. Upon information and belief, I live in

a geographic area that contains a proportionately larger population of immigrants, non-U.S.

citizens and Asian Americans when compared to the rest of New York City and the state of New

York.

        4.     According to ACS data, in my home county, approximately 51% of Asian

Americans 2 and 43% of Latinos3 are limited English proficient. Moreover, approximately 83% of




1 U.S. Census Bureau, 2017 ACS 5-Year Estimates, Table B02001, Race (Queens County, New
York)
https://data.census.gov/cedsci/table?q=queens%20county,%20new%20york%20%20%2B%20asi
an&tid=ACSDT5Y2017.B02001&hidePreview=false.
2 U.S. Census Bureau, 2017 ACS 5-Year Estimates, Table B16005D, Nativity by Language
Spoken at Home by Ability to Speak English for the Population 5 Years and Over (Asian Alone)
(Queens County, New York)
https://data.census.gov/cedsci/table?t=Language%20Spoken%20at%20Home%3ARace%20and
%20Ethnicity&g=0500000US36081&y=2017&tid=ACSDT5Y2017.B16005D&hidePreview=fal
se.
3 U.S. Census Bureau, 2017 ACS 5-Year Estimates, Table B16005I, Nativity by Language
Spoken at Home by Ability to Speak English for the Population 5 Year and Over (Hispanic or
Latino) (Queens County, New York)
https://data.census.gov/cedsci/table?t=Language%20Spoken%20at%20Home%3ARace%20and
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Asian Americans 4 and 84% of Latinos5 speak a language other than English at home. In my

home county, nearly 16.1% of Asian Americans and 16.7% of Latinos live below the poverty

line.6

         5.    I am the Executive Director of the MinKwon Center for Community Action

(“MinKwon”). In that capacity, my role is to oversee MinKwon’s programs, personnel, and

resources to maximize the organization’s ability to fulfill its mission of empowering the Korean

American community and working with the broader Asian American and immigrant

communities to achieve economic and social justice for all. My responsibilities include broad

oversight of fundraising, operations, personnel management, and strategic planning for program

areas including civic participation, advocacy and organizing, youth leadership, social services,

and legal services.

         6.    My testimony in this declaration is based on my knowledge and experience as:

Executive Director of MinKwon; board member of the New York Immigration Coalition;

member of the leadership of New York Counts 2020 and the New York Civic Engagement

Table; and my past role and responsibilities with the Asian American Federation related to civic

engagement, including coordinating the strategic Census outreach for 33 Asian American

community organizations (including MinKwon) during the 2010 Census in the greater New York

City area. It is my belief that the truncation of field operations will result in Asian Americans and



%20Ethnicity&g=0500000US36081&y=2017&tid=ACSDT5Y2017.B16005I&hidePreview=fals
e.
4 Table B16005D, supra note 2.
5 Table B16005I, supra note 3.
6 U.S. Census Bureau, 2017 ACS 5-Year Estimate, Table S1701, Poverty Status in the Past 12
Months (Queens County, New York)
https://data.census.gov/cedsci/table?q=below%20the%20poverty%20line%20%2B%20queens%
20county,%20NY&t=Income%20and%20Poverty&g=0500000US36081&y=2017&tid=ACSST
5Y2017.S1701&moe=false&hidePreview=false.
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immigrants not being counted in the 2020 Census, and especially in this political climate,

truncation of field operations will deter Asian Americans and immigrants in New York City from

participating in the decennial Census. In sum, there will be an undercount of the Asian American

and immigrant populations in New York City.

       Immigrant Communities in New York City

       7.      There are more foreign-born immigrants in New York City than the entire

population of Chicago. New York City also has a larger Asian American population than Los

Angeles and San Francisco combined, and is home to more than 100,000 Korean Americans.

Asian Americans are the fastest growing population in the country, including in New York State

and New York City. Over 82 percent of Asian Americans in New York City are foreign-born.

Approximately half of the Asian American population in New York City lives in Queens, which

is considered the language capital of the world due to the diversity of languages spoken.

According to the New York City’s Mayor’s Office of Economic Development, of the working

age population, Asian Americans have had the highest rates of poverty in the City every year

since 2007. Furthermore, Asian Americans in the City also have the highest levels of linguistic

isolation at 42 percent. The highest concentration of Asian Americans in New York City lives in

Flushing, Queens, where I live and work.

       Experience with the 2010 Census

       8.      In 2010, I worked with the Asian American Federation, a pan-Asian non-profit

organization representing a network of community service agencies in the Northeast. As an

official Census Information Center, the Asian American Federation pulls together data for

certain communities and provides demographic data on the Asian American population.

       9.      For the 2010 Census, I coordinated strategic outreach for 33 Asian American



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organizations in the greater New York City area. I also helped recruit individuals and

organizations to participate in census outreach efforts and conducted trainings for organizations

on outreach, as well as educating the community on the census. I developed strategies for

reaching specific communities, and reviewed weekly reports from the 33 organizations to

monitor developments, identify opportunities for collaboration, and share best practices. I

reviewed these weekly reports and shared some of their outreach strategies with other coalition

members. I also participated in direct outreach in the Flushing area with MinKwon, where I

currently work.

       10.     For the 2010 Census, MinKwon, one of the organizations for which I coordinated

census outreach activities, utilized numerous strategies to engage the Korean American and

Asian American communities of New York City in responding to the Census. First, MinKwon

staff and volunteers conducted a groundbreaking Asian American grassroots mobilization effort.

MinKwon also placed special emphasis on Census tract #36081086500, located in the heart of

Flushing that had a high Asian American population and a high hard-to-count score of 75.

MinKwon staff and volunteers completed a multi-language Census outreach campaign that

phone-banked 3,900 households and door-knocked more than 700 households. Leveraging

MinKwon’s reputation and relationships with the community as a trusted voice among Asian

Americans and immigrants, MinKwon’s efforts helped increase the response rates for Census

tract #36081086500 by 33 percent compared to the 2000 decennial Census, placing the tract in

the 96th percentile of improvement. This stood in contrast to the neighboring Census tracts

where MinKwon did not engage in targeted efforts, for which response rates remained similar to

2000 Census response rates, showing that the Census Bureau’s non-response follow up

(“NRFU”) procedures alone do not result in immigrant communities responding at high rates to



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the decennial Census.

       11.     MinKwon also participated in community outreach and education events for the

2010 Census that reached approximately 7,000 people, including outreach during community

events; a mass flyer and window display campaign with local business; a weekly street outreach

effort on street corners, at the Flushing public library, and at local supermarkets. When

MinKwon learned that the official Census Bureau language hotline offered inadequate language

interpretation services to meet the needs of the community, MinKwon created its own 40-hour-

per-week census language hotline. MinKwon also engaged in a major media campaign targeting

ethnic media, primarily in Korean and Chinese, including press conferences, press events, joint

statements with other organizations, op-eds, columns, media advisories, and paid advertisements.

Additionally, recognizing that MinKwon is a trusted community leader, the Census Bureau

designated MinKwon’s headquarters as a Questionnaire Assistance Center (“QAC”). Using

MinKwon’s resources, such as its office space, the Census Bureau leveraged MinKwon’s

standing in the community and accessible location in the heart of Flushing to advance its goals in

assisting respondents in completing the Census form.

       12.     One of the challenges in the 2010 Census was reaching families in areas where

there are often multiple families living in single family units and basement dwellings without

addresses or doors. Based on this experience and knowledge of the community, MinKwon

discovered that the Census Bureau did not have records for these families.

       13.     Based on my 2010 Census work and my years of experience working with, and

being a part of, the Asian American and immigrant communities, I know how hard it is to count

the Asian American and immigrant communities in Queens. I live and work in areas that have

larger populations of non-U.S. citizens and families that have mixed immigration status than



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other parts of the state. These communities are more likely to respond to known and trusted

community members such as MinKwon’s staff, our partner community organizations, and

volunteers than they were to respond to Census Bureau enumerators.

        14.    These difficulties are only compounded by the COVID-19 pandemic. I do not

believe the Census Bureau’s NRFU procedures in the truncated timeframe will be sufficient to

reach these communities that are traditionally hard to count.

        Distrust of Government in Asian American Communities

        15.    My experiences living and working within the Korean American, Asian

American, and immigrant communities in New York City has alerted me to the fact that

community members express concern about participating in the Census due to the addition of the

citizenship question. These fears have not abated in light of current anti-immigrant rhetoric by

public officials, including calling the COVID-19 pandemic “kung-flu,” family separation

policies, and regulatory changes as to who will be considered a “public charge” when applying

for a Green Card. Community members have expressed their distrust about sharing their

information with the government and fear over how that information could later be used against

them.

        16.    There is far more distrust over how government agencies may potentially share or

use personal information now than in 2010. This fear has been confirmed by the Presidential

Memorandum on excluding undocumented individuals from the apportionment base.

        Experiences with 2020 Census Operations

        17.    Language access issues were a large concern in 2010, and they will be an even

bigger challenge for the 2020 Census.

        18.    Queens has large populations that are linguistically isolated, so a sizeable number



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of local, trusted volunteers and staff who have the required fluency in Mandarin, Cantonese, and

Korean, will be needed to get a full count.

       19.     But in the 2020 Census, the Census Bureau’s confusing and changing policies

about only hiring U.S. citizens will inhibit recruiting and limit the number of available

linguistically diverse enumerators. This problem will also be compounded by the COVID-19

pandemic-related health risks that negatively impact the pool of linguistically-able prospective

enumerators.

       20.      The COVID-19 pandemic has compounded the challenges in reaching hard-to-

count communities in Flushing. Because Flushing is a population-dense area with many

basement dwellings that often house multiple families or households, many families who are able

to move have done so to socially distance during the pandemic, making it more difficult to locate

and reach individuals at their usual residence. I, along with MinKwon, have also stopped door

knocking and outreach efforts at community centers such as public libraries.

       21.     For the 2020 Census, I, along with MinKwon, have instead conducted more

phone-banking, text-banking, and community events to reach as many community members to

ensure as complete and accurate of a census as possible. In addition to the language access

issues, the phone, text, and online outreach that are now a pandemic necessity are particularly

challenging in Flushing because there are pockets of households (known as WiFi deserts) that do

not have access to the internet, and a significant number of households in Flushing also do not

have either phone land lines or cell phones.

       22.     To reach as many hard-to-count community members as possible in the current

environment, I, along with MinKwon, have modified our outreach efforts. One example includes

reaching individuals who stand in line at a local food pantry in Flushing that serves thousands of



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hungry individuals every Saturday.

       23.     The pandemic has also overwhelmed MinKwon’s hotlines because of the number

of community members seeking in-language assistance accessing unemployment, housing, and

other urgent benefits. We have doubled our phonelines from eight to 16, so that we can finally

make outbound calls to affirmatively conduct census outreach while also devoting increased staff

time to address these more urgent needs. Addressing our communities’ more urgent needs has

reduced staff time that we can devote to census community outreach and education efforts that

we planned to make remotely as a result of the COVID-19 pandemic.

       24.     The truncation of field operations has created confusion in my community in

Flushing. Based on my experience reaching the hard-to-count population in Flushing over two

decennial censuses, I know that consistent messaging is important in census outreach efforts to

build and maintain community members’ trust. The changing messaging from the Census Bureau

and the administration as to the census operation timelines, as well as the Presidential

Memorandum excluding undocumented immigrants from the apportionment count, have made it

more difficult to effectively plan and conduct community outreach and education.

       25.     In light of the truncation of field operations, I, along with MinKwon, will not be

able to conduct as many outreach operations as we had planned, and will not be able to reach as

many community members as we would have if Census field operations continued through

October as originally planned after the onset of the COVID-19 pandemic.

       26.     Additional time to conduct census outreach through October 31, 2020 will allow

me and MinKwon to reach more hard-to-count community members in Flushing and Queens

because it will allow us to continue outreach efforts and increase the points of contact to get as

complete and accurate of a count as possible.



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Impact of Undercounting My Community

       27.     As explained above, the truncation of Census field operations will cause my

community in Flushing and in New York City overall to be undercounted. In turn, this will

detrimentally impact public programs and benefits that receive federal funding based on the

census that my household regularly uses (described below), as well as my political voice.

       28.     I am currently eligible to vote in Queens County.

       29.     I intend to vote where I reside in elections in and after 2020.

       30.     I regularly drive on highways and roads in my community and use public

transportation services.

       31.     One of my children, age 6, attends a public school in Queens County, New York.

       32.     As a result of an undercount in the community in which I live, I will be deprived

of representation in the U.S. House of Representatives and in state and local elected bodies. I

will also suffer a loss of representation and diminished ability to elect candidates of my choice

because the districts drawn in my undercounted community will, in reality, contain more persons

than the districts drawn in communities that are not undercounted.



       I declare under penalty of perjury that the foregoing is true and correct.



                                                              _________________________
                                                              John Park

Executed on August ____,
                   25    2020 in Flushing, Queens, New York.




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